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                 IN THE UNITED STATES DISTRICT COURT
                     IN THE DISTRCT OF NEW JERSEY

  Dale Ylitalo, individually and on behalf of
  all others similarly situated,

                       Plaintiff,

  v.                                            Case No. 2:24-cv-7635-JKS-LDW

  Automatic Data Processing, Inc., ADP, Inc.,
  and American Century Investments
  Services, Inc.,

                       Defendants.


   MOTION OF DALE YLITALO FOR APPOINTMENT AS LEAD PLAINTIFF
                  AND APPROVAL OF COUNSEL




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 TO THE CLERK OF THE COURT, ALL PARTIES, AND COUNSEL OF
 RECORD

       PLEASE TAKE NOTICE that Dale Ylitalo (“Ylitalo”) respectfully moves

 this Court for an order (1) appointing Ylitalo as lead plaintiff pursuant to Section

 21D of the Securities Exchange Act of 1934, as amended by the Private Securities

 Litigation Reform Act of 1995 (the “PSLRA”); (2) approving Ylitalo’s selection of

 Federman & Sherwood as Lead Counsel and Kantrowitz, Goldhamer & Graifman,

 P.C. as Liaison Counsel for the class; and (3) granting such other relief as the Court

 may deem to be just and proper (the “Motion”).

       This Motion is supported by the accompanying Memorandum of Law,

 Declaration of William B. Federman and the exhibits attached thereto, a Proposed

 Order, and all of the prior pleadings and proceedings in this matter, and such other

 written and/or oral argument as may be permitted by the Court.

 Dated: September 17, 2024              By: /s/ William B. Federman
                                        William B. Federman*
                                        Jessica A. Wilkes*
                                        *Admitted Pro Hac Vice
                                        FEDERMAN & SHERWOOD
                                        10205 N. Pennsylvania Ave.
                                        Oklahoma City, OK 73120
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                                        Counsel for Lead Plaintiff Movant Dale Ylitalo
                                        and Proposed Lead Counsel for the Class


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                           CERTIFICATE OF SERVICE

       I hereby certify that this Motion was filed through the ECF system and will

 be sent electronically to the registered participants as identified on the Notice of

 Electronic Filing (NEF), and paper copies will be sent to those indicated as non-

 registered participants on September 17, 2024.

                                       /s/ William B. Federman
                                       William B. Federman




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